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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 1:06CR401
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 LEANDER WILLIAMS                                    : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT
                                      Defendant      :
 ------------------------------------------------    :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge Nancy A. Vecchiarelli regarding the change of plea hearing and

plea agreement of Leander Williams which was referred to the Magistrate Judge with

the consent of the parties.

       On 22 August 2006, the government filed a three-count indictment against

Leander Williams for conspiracy, aggravated identity theft, bank fraud and aiding and

abetting in violation of 18 U.S.C. § 371, 18 U.S.C. § 1344, 18 U.S.C. § 2, and 18 U.S.C.

§ 1028A(a)(1). On 11 September 2006, a hearing was held in which Leander Williams

entered a plea of not guilty before Magistrate Judge Vecchiarelli. On 14 December

2006, Magistrate Judge Vecchiarelli received Leander Williams’s plea of guilty and
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issued a Report and Recommendation (“R&R”) concerning whether the plea should be

accepted and a finding of guilty entered.

       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted.

Leander Williams is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Leander Williams is adjudged guilty of Count Two in violation of 18

U.S.C. § 1344 and 18 U.S.C. § 2.



       IT IS SO ORDERED.




Dated: 13 February 2007                         /s/Lesley Wells
                                                UNITED STATES DISTRICT JUDGE




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